                    IN THE SUPREME COURT OF NORTH CAROLINA

                                         2021-NCSC-42

                                          No. 380A20

                                      Filed 23 April 2021

     IN THE MATTER OF: A.M. and E.M.


           Appeal pursuant to N.C.G.S. § 7B-1001(a1)(1) from an order entered on 15 May

     2020 by Judge V.A. Davidian III in District Court, Wake County. This matter was

     calendared for argument in the Supreme Court on 19 March 2021, but determined on

     the record and briefs without oral argument pursuant to Rule 30(f) of the North

     Carolina Rules of Appellate Procedure.


           Mary Boyce Wells, Senior County Attorney, for petitioner-appellee Wake County
           Human Services.

           Coats+Bennett, PLLC, by Gavin B. Parsons, for appellee Guardian ad Litem.

           Dorothy Hairston Mitchell for respondent-appellant mother.


           MORGAN, Justice.

¶1         Respondent-mother appeals the order terminating her parental rights to her

     minor children “Adam,” born in October 2011, and “Efia,” born in March 2014.1

     Because clear, cogent, and convincing evidence supported at least one ground for the

     termination of respondent-mother’s parental rights, and because it was not an abuse

     of discretion for the trial court to determine that termination of respondent-mother’s


           1 We use pseudonyms to protect the identities of the minor children and for ease of

     reading.
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     parental rights was in the best interests of the children, we affirm the trial court’s

     order.

                         I.   Factual and Procedural Background

¶2            Respondent-mother, the father, and their son Adam have been involved with

     Wake County Human Services (WCHS) since 2012. In 2013 and 2014, WCHS received

     reports which detailed the parents’ instances of substance abuse, as well as

     respondent-mother’s physical confrontations with the childcare providers for Adam

     and Efia. When Efia was born in 2014, both she and respondent-mother tested

     positive for marijuana. In April 2015, WCHS received a report that the parents were

     homeless and that the children’s maternal grandparents, who themselves had been

     the subject of several prior child protective services (CPS) reports regarding the care

     of Efia, were allowing Adam and Efia to reside with them. The parties agreed that

     the children would continue to reside with the maternal grandparents pursuant to a

     safety assessment, and WCHS closed the case in May 2015 with services

     recommended.

¶3            In March 2016, WCHS received a report indicating that respondent-mother

     was arrested and charged with assault after she “drunkenly confronted the father

     with a knife while pushing [Efia] in a stroller.” Respondent-mother had failed to

     comply with a medication regimen prescribed for her depression and had expressed

     thoughts of suicidal ideation. WCHS initiated in-home services for the family and
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     requested that respondent-mother comply with a substance abuse assessment. While

     respondent-mother initially engaged in residential substance abuse treatment with

     the children, she was discharged from the program for noncompliance in September

     2016. Following the discharge, a maternal relative came forward to provide support

     for the juveniles, and WCHS closed its case in November 2016.

¶4         WCHS received a report on 20 April 2017 that respondent-mother and the

     maternal grandmother had physically assaulted each other in front of Adam and Efia,

     prompting respondent-mother and the children to move into a Salvation Army shelter

     with the assistance of CPS. Shortly thereafter, respondent-mother and the father

     participated in another affray which occurred in front of the children. This fracas

     resulted in respondent-mother’s arrest. While respondent-mother was incarcerated,

     the children resided with the father for a few days before returning to their maternal

     grandmother’s home.

¶5         Following respondent-mother’s release from incarceration, a social worker met

     with respondent-mother and the children at the home of the maternal grandmother.

     Respondent-mother was “visibly impaired and smelled of alcohol,” and “accused the

     [maternal] grandmother of substance abuse” before producing drug paraphernalia

     from the maternal grandmother’s cigarette pack. WCHS removed the juveniles from

     the home, as efforts to consult with the parents concerning a proper familial

     placement for the children were unsuccessful. WCHS filed juvenile petitions on 19
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     June 2017 alleging that the children were neglected juveniles, and WCHS

     subsequently filed an amended juvenile petition regarding both children on 28 June

     2017. The trial court entered orders granting nonsecure custody of the children to

     WCHS on 19 June 2017 pursuant to the first juvenile petitions and authorizing

     WCHS to place the children in a licensed foster care home.

¶6         On 13 September 2017, respondent-mother and the father consented to an

     adjudication that the children were “neglected juveniles” as defined by N.C.G.S. § 7B-

     101(15). In its consent order on adjudication and disposition which was issued on the

     same date as the adjudication, the trial court allowed WCHS to retain legal custody

     of the children and ordered respondent-mother to: (1) follow all recommendations of

     a substance abuse assessment; (2) refrain from the use of illegal or impairing

     substances and submit to random drug screens; (3) obtain and maintain housing

     sufficient for herself and her children that is free of transient household members

     and substance abuse, and provide proof of such housing; (4) obtain and maintain legal

     income sufficient to meet her needs and the needs of her children, and provide proof

     of such income to WCHS on at least a monthly basis; (5) engage in a domestic violence

     assessment through Interact and follow all recommendations; (6) complete a

     psychological evaluation and follow all recommendations; (7) follow the terms of her

     probation and refrain from further illegal activity; (8) comply with a visitation

     agreement during her visits with the children; and (9) maintain regular contact with
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     the social worker at WCHS, notifying WCHS of any change in situation or

     circumstances within five business days. The trial court further ordered WCHS to

     continue to make reasonable efforts to eliminate the need for placement of the

     children outside of the home.

¶7         Following an April 2018 permanency planning hearing, the trial court entered

     a 24 May 2018 order in which it found that respondent-mother and the father had

     been incarcerated from February to mid-March 2018. The trial court acknowledged

     that respondent-mother was pregnant at the time of the hearing, and determined

     that after respondent-mother and the father’s respective releases from incarceration,

     the parents were residing together in a boarding house that was not appropriate for

     the children. Respondent-mother had been diagnosed with severe alcohol use disorder

     and severe cannabis use disorder in early remission, as well as post-traumatic stress

     disorder, anxiety, and depression. While respondent-mother denied using marijuana

     since her release from incarceration and upon learning that she was pregnant, the

     trial court noted that she had tested positive for marijuana twice in April 2018 and

     had admitted to consuming alcohol since her release from jail. The trial court

     established that “[n]either parent has consistently demonstrated a willingness to

     address the chronic substance abuse and domestic violence that has dominated their

     family for quite some time.” As for the children’s current placements, the trial court

     found that the placements were appropriate and were meeting the needs of the
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     juveniles. The tribunal also found that the children had bonded with their caregivers,

     who were willing to provide long-term care for both children. The trial court concluded

     that a primary plan of adoption with a secondary plan of reunification would serve

     the children’s best interests.

¶8         On 3 July 2018, WCHS filed a motion to terminate the parental rights of

     respondent-mother and the father to the children, asserting, under N.C.G.S. § 7B-

     1111(a)(1), (2), and (3), the grounds of (1) neglect, (2) failure to show reasonable

     progress in correcting the conditions which initially led to the removal of the children

     from the home, and (3) willfully failing to pay a reasonable portion of the cost of care

     for the children despite the ability to do so.

¶9         Following an April 2019 permanency planning hearing, the trial court entered

     a 2 May 2019 order in which it found that respondent-mother had acquired a

     residence which was structurally sufficient for a child. However, a GAL volunteer

     visiting the residence observed a person in the living room who was visibly impaired

     to the point of unconsciousness, and the GAL volunteer likewise noticed that the

     parents also appeared to be impaired. Nevertheless, the family exhibited a strong

     bond during visitations with the children, and the parents exhibited an ability to

     provide appropriate care for the juveniles for short periods of time in structured,

     supervised settings. The trial court changed the primary plan for the children from

     adoption to guardianship with the secondary plan remaining reunification.
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¶ 10         In a 19 September 2019 order which was entered following a July 2019

       permanency planning hearing, the trial court found that respondent-mother

       maintained adequate housing, did not receive consistent income, attended weekly

       therapy sessions and met with a psychiatrist to receive treatment for her mental

       health issues, and missed three random drug screens in March and May 2019. On 14

       April 2019, law enforcement officers responded twice to reports of domestic violence

       at respondent-mother’s residence, which resulted in law enforcement officers

       removing the father from the home. The trial court also found that “any progress

       made by either parent [wa]s generally short-lived. Neither parent ha[d] made

       adequate progress in a reasonable period of time to alleviate the conditions that led

       to the children’s initial removal from the home.” The trial court further found that

       Adam was doing well in his placement, that Efia was receiving services appropriate

       for her needs, and that each child’s respective caregiver intended to adopt when

       possible. The trial court changed the primary plan for the children from guardianship

       back to adoption with the secondary plan remaining reunification.

¶ 11         On 9 January and 4 February 2020, the trial court conducted a hearing on

       WCHS’s motion to terminate respondent-mother’s and the father’s parental rights to

       the children. In an order entered 15 May 2020, the trial court found the existence of

       grounds to terminate respondent-mother’s parental rights under N.C.G.S. § 7B-

       1111(a)(1), (2), and (3), and further concluded that it was in the children’s best
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       interests to terminate respondent-mother’s parental rights. See N.C.G.S. § 7B-

       1110(a) (2019).2 Accordingly, the trial court granted WCHS’s motion to terminate

       respondent-mother’s parental rights to the juveniles in the 15 May 2020 order, from

       which respondent-mother appeals to this Court.

¶ 12         On appeal, respondent-mother challenges each of the three grounds which

       were found to exist by the trial court as a basis upon which to terminate her parental

       rights. Respondent-mother likewise opposes the trial court’s conclusion that

       termination of her parental rights was in the children’s best interests.

                                      II.     Legal Standard

¶ 13         The North Carolina General Statutes set forth a two-step process for the

       termination of parental rights. After the filing of a petition for the termination of

       parental rights, a trial court conducts a hearing to adjudicate the existence or

       nonexistence of any grounds alleged in the petition as set forth under N.C.G.S. § 7B-

       1111. N.C.G.S. § 7B-1109(e) (2019). Then, following an adjudication that at least one

       ground exists to terminate the parental rights of a respondent-parent, the trial court

       will determine whether terminating the parental rights of the respondent-parent is

       in the child’s best interests. N.C.G.S. § 7B-1110(a).

¶ 14         We review a trial court’s adjudication that a ground exists to terminate




             2 The father relinquished his parental rights to the children and is not a party to this

       appeal.
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       parental rights under N.C.G.S. § 7B-1111 “to determine whether the findings are

       supported by clear, cogent and convincing evidence and the findings support the

       conclusions of law.” In re E.H.P., 372 N.C. 388, 392 (2019) (quoting In re Montgomery,

       311 N.C. 101, 111 (1984)). “Unchallenged findings of fact ‘are deemed supported by

       competent evidence and are binding on appeal.’ ” In re J.S., 374 N.C. 811, 814 (2020)

       (quoting In re T.N.H., 372 N.C. 403, 407 (2019)). “[A]n adjudication of any single

       ground for terminating a parent’s rights under N.C.G.S. § 7B-1111(a) will suffice to

       support a termination order.” Id. at 815 (first citing In re B.O.A., 372 N.C. 372, 380
       (2019); then citing In re Moore, 306 N.C. 394, 404 (1982)).

¶ 15         In the present case, the trial court concluded that clear, cogent, and convincing

       evidence established the existence of all three alleged grounds to terminate

       respondent-mother’s parental rights under N.C.G.S. § 7B-1111(a)(1)–(3).

¶ 16         Pursuant to N.C.G.S. § 7B-1111(a)(2), a trial court may terminate parental

       rights upon a finding that “[t]he parent has willfully left the [child] in foster care or

       placement outside the home for more than 12 months without showing to the

       satisfaction of the court that reasonable progress under the circumstances has been

       made in correcting those conditions which led to the removal of the [child].” N.C.G.S.

       § 7B-1111(a)(2) (2019). “Only reasonable progress in correcting the conditions must

       be shown.” In re J.S., 374 N.C. at 819 (quoting In re L.C.R., 226 N.C. App. 249, 252
       (2013)). “[T]he nature and extent of the parent’s reasonable progress . . . is evaluated
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       for the duration leading up to the hearing on the motion or petition to terminate

       parental rights.” Id. at 815 (emphasis omitted) (quoting In re A.C.F., 176 N.C. App.

       520, 528 (2006)); see also In re Ballard, 311 N.C. 708, 715 (1984) (“The determinative

       factors must be the best interests of the child and the fitness of the parent to care for

       the child at the time of the termination proceeding.”).

¶ 17          A factor consistently recognized as relevant in the determination of whether

       grounds exist for the termination of parental rights pursuant to N.C.G.S. § 7B-

       1111(a)(2) is whether a parent has complied with a judicially adopted case plan. See

       In re B.O.A., 372 N.C. at 384. Generally speaking, we have held that “a trial judge

       should refrain from finding that a parent has failed to make reasonable progress . . .

       in correcting those conditions which led to the removal of the juvenile simply because

       of his or her failure to fully satisfy all elements of the case plan goals.” In re S.M., 375

       N.C. 673, 685 (2020) (extraneity omitted) (quoting In re B.O.A., 372 N.C. at 385).

       However, a respondent-parent’s “ ‘extremely limited progress’ in correcting the

       conditions leading to removal” of the children from their care in the first place,

       especially when the remedy for such conditions is memorialized in the respondent-

       parent’s case plan, will support a trial court’s ultimate determination that grounds

       exist to terminate that parent’s rights under N.C.G.S. § 7B-1111(a)(2). In re A.B.C.,

       374 N.C. 752, 760 (2020) (quoting In re B.O.A., 372 N.C. at 385).

¶ 18          “If [the trial court] determines that one or more grounds listed in section 7B-
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       1111 are present, the court proceeds to the dispositional stage, at which the court

       must consider whether it is in the best interests of the juvenile to terminate parental

       rights.” In re A.R.A., 373 N.C. 190, 194 (2019) (extraneity omitted) (quoting In re

       D.L.W., 368 N.C. 835, 842 (2016)). We review the trial court’s assessment of a child’s

       best interests for abuse of discretion. In re A.R.A., 373 N.C. at 199. A trial court’s

       determination will remain undisturbed under an abuse of discretion standard so long

       as that determination is not “manifestly unsupported by reason or is so arbitrary that

       it could not have been the result of a reasoned decision.” In re A.U.D., 373 N.C. 3, 6–

       7 (2019) (quoting In re T.L.H., 368 N.C. 101, 107 (2015)).

                                      III.      Adjudication

¶ 19         Respondent-mother does not challenge any of the findings of fact made by the

       trial court in its determination that grounds existed for the termination of

       respondent-mother’s parental rights pursuant to N.C.G.S. § 7B-1111(a)(2). On the

       other hand, respondent-mother argues that although she “did not correct all the

       conditions that led to the children’s removal, she . . . made ‘reasonable progress under

       the circumstances.’ ” We disagree with respondent-mother’s depiction of her

       compliance with her case plan.

¶ 20         In its unchallenged Findings of Fact 15–22, the trial court detailed the

       conditions which led to the children’s removal from the home; namely, “substance

       abuse, domestic violence and homelessness.” In its 13 September 2017 consent order,
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the trial court ordered respondent-mother to comply with a case plan referred to as

the “Out of Home Family Services Agreement” to address the reasons for the

children’s removal from her care. In unchallenged Finding of Fact 27, the trial court

delineated the terms of the Agreement relating to the conditions which led to the

removal of the juveniles from respondent-mother’s home:

             27.    [In its 13 September 2017 consent order,] [t]he
             [court] ordered [respondent-]mother to comply with the
             following conditions:

             a.    Follow all recommendations from a substance abuse
             assessment through [WCHS].

             b.    Refrain from using illegal or impairing substances
             and submit to random drug screens.

             c.    Obtain and maintain housing sufficient for herself
             and the children free of transient household members and
             substance use.

             ....

             e.    Complete a domestic violence assessment through
             Interact and follow recommendations.

A review of the record convinces us of the nexus between the court-ordered conditions

and the bases for the children’s removal. See In re E.B., 375 N.C. 310, 323–24 (2020)

(“There must be a nexus between the components of the court-approved case plan

with which respondent failed to comply and the conditions which led to the juvenile’s

removal from the parental home.” (extraneity omitted) (quoting In re B.O.A., 372 N.C.

at 385)).
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¶ 21         The trial court’s unchallenged findings of fact also describe respondent-

       mother’s failures to comply with the conditions set forth in the 13 September 2017

       consent order during the almost twenty-eight-month period between entry of the

       order and the 9 January 2020 hearing on WCHS’s motion to terminate respondent-

       mother’s parental rights:

                    30.    . . . . [Respondent-]mother twice tested positive for
                    marijuana in April [2018] while pregnant [with a third
                    child] and admitted that she continued to drink alcohol.

                    ....

                    32.    Throughout 2018, [respondent-]mother did not
                    consistently comply with random drug screens or provide
                    information to WCHS to verify her treatment progress or
                    participation in . . . domestic violence education. . . .

                    ....

                    35.    [Respondent-]mother moved into an apartment . . .
                    in March 2019. . . . [But] during a home visit in 2019, the
                    GAL volunteer observed a person in the home that was
                    visibly impaired to the point of unconsciousness while
                    [respondent-]mother . . . w[as] present.

                    36.   . . . . [Respondent-]mother continued to attend
                    therapy sessions, but consistently refused to comply with
                    random drug screens.

                    37.  On April 14, 2019, Raleigh police responded to two
                    domestic violence calls at [respondent-]mother’s home. . . .

                    38.   On August 5, 2019, [respondent-]mother was
                    involved in a physical altercation with the children’s
                    maternal grandmother . . . .

                    39.    On September 14, 2019, Raleigh police again
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       responded to a report of domestic violence at [respondent-
       ]mother’s residence . . . . Tellingly, [respondent-]mother
       was openly drinking alcohol while talking to the police.
       When asked about the alcohol by the police officer,
       [respondent-]mother simply explained that she could hold
       her liquor.

       ....

       42.     On September 19, 2019, [respondent-]mother
       completed another substance abuse assessment. During
       the interview with the assessor, [respondent-]mother
       insisted that she had not used drugs or alcohol for three
       years despite testing positive for marijuana the month
       prior. [Respondent-]mother had refused to comply with any
       additional drug screens. . . .

       42.[3] On December 11, 2019, Raleigh police once again
       responded     to    [respondent-]mother’s     home      after
       [respondent-]mother reported that she had been physically
       assaulted by her houseguest. [Respondent-]mother
       knowingly allowed a male gang member to stay in her
       home for a few days. After drinking some amount of
       alcohol, she confronted the guy and demanded that he
       leave the home. [Respondent-]mother stated that the man
       became upset when she asked him to leave and jumped on
       top of her while holding a knife to her cheek. She hit him
       in the head with a glass bottle and was able to call 911. The
       houseguest, on the other hand, told police that
       [respondent-]mother pulled a knife on him and bit him in
       the face.

       ....

       44.   [Respondent-]mother has not complied with
       domestic violence counseling or educational programs . . .
       as previously ordered by the [c]ourt. Additionally, there is
       no evidence before the [c]ourt that [respondent-]mother


3 The trial court’s order reflects two findings of fact numbered 42.
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                    has completed substance abuse treatment . . . .

¶ 22         While the trial court recognized that respondent-mother was able to acquire a

       structurally safe and appropriate residence, the trial court simultaneously found that

       the father—who was a frequent focus of the domestic violence issues within the

       family—“spent a significant amount of time in the home” and that both parents

       continued to “exhibit concerning judgment and behaviors” within that environment,

       as evidenced by the aforementioned GAL volunteer who discovered an unidentified,

       unconscious, and impaired person in respondent-mother’s apartment. Further, law

       enforcement officers responded to respondent-mother’s apartment on three occasions

       for domestic violence incidents involving the father after respondent-mother’s

       acquisition of the structurally appropriate housing. Just one month prior to the

       termination hearing, respondent-mother allowed a male gang member to reside with

       her, precipitating yet another domestic violence incident when respondent-mother

       became intoxicated and asked the male to leave.

¶ 23         Although respondent-mother testified that she had participated in substance

       abuse support groups and had abstained from marijuana use for at least a year, the

       trial court’s unchallenged findings of fact detail respondent-mother’s multiple

       positive tests for marijuana, her consistent refusal to comply with drug screens, her

       failure to complete substance abuse treatment and domestic violence counseling

       programs, and repeated acts of domestic violence involving her which incorporated
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       the consumption of alcohol.

¶ 24         Despite respondent-mother’s contention on appeal that “it is clear that [she]

       made reasonable progress in correcting the conditions that led to the children’s

       removal,” the recounted findings of fact of the trial court support the conclusion that,

       even crediting respondent-mother’s inconsistent engagement with a few court-

       ordered resources, she failed to make reasonable progress toward correcting the

       substance abuse and domestic violence issues which led to the removal of the children

       from her care. See In re J.S., 374 N.C. at 815 (“A respondent’s prolonged inability to

       improve her situation, despite some efforts in that direction, will support a finding of

       lack of progress sufficient to warrant termination of parental rights under section 7B-

       1111(a)(2).” (extraneity omitted) (quoting In re J.W., 173 N.C. App. 450, 465–66

       (2005), aff’d per curiam, 360 N.C. 361 (2006))); In re Z.A.M., 374 N.C. 88, 99 (2020)

       (upholding a termination of parental rights based on N.C.G.S. § 7B-1111(a)(2) when

       “viewing the evidence as a whole, it appear[ed] that the trial court correctly concluded

       that respondent-father’s three-month period of sobriety was outweighed by his

       continuous pattern of relapse” over a twenty-two-month period). Therefore, the trial

       court’s adjudication that the ground exists, as embodied in N.C.G.S. § 7B-1111(a)(2),

       that respondent-mother has willfully left her children in foster care or placement

       outside the home for more than 12 months without showing to the satisfaction of the

       court that reasonable progress under the circumstances has been made in correcting
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       those conditions which led to the removal of the juveniles is supported by clear,

       cogent, and convincing evidence. As a result, we affirm the trial court’s determination

       as to the existence of at least one ground upon which to terminate respondent-

       mother’s parental rights.

¶ 25         “In light of our conclusion that the trial court properly adjudicated a ground

       for terminating respondent-mother’s parental rights under N.C.G.S. § 7B-1111(a)(2),

       we deem it unnecessary to address respondent-mother’s contentions” regarding the

       grounds of neglect and failure to pay a reasonable portion of the cost of care under

       N.C.G.S. § 7B-1111(a)(1) and (3), respectively. In re S.M., 375 N.C. at 687 (citing In

       re A.R.A., 373 N.C. at 194).

                                      IV.    Disposition

¶ 26         Respondent-mother also challenges the trial court’s conclusion that

       termination of her parental rights was in the children’s best interests. In her sole

       argument before this Court concerning the best interests determination, respondent-

       mother contends that the trial court “completely disregarded the strong bond between

       [her] and the children in favor of the alleged bond between the children and their

       foster parents.” In support of this contention, respondent-mother directs our

       attention to portions of the trial court’s Findings of Fact 53 and 55 which state that

       “the children are bonded with their mother” and “love their mother,” along with

       several examples in the record which acknowledge the positive reactions of the
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       children upon their reunions with respondent-mother during visitation sessions.

¶ 27         If a trial court adjudicates the existence of one or more grounds for terminating

       parental rights, it then progresses to the dispositional phase of the proceedings where

       it “shall determine whether terminating the parent’s rights is in the juvenile’s best

       interest[s]” and shall consider the following criteria:

                    (1) The age of the juvenile.

                    (2) The likelihood of adoption of the juvenile.

                    (3) Whether the termination of parental rights will aid in
                    the accomplishment of the permanent plan for the juvenile.

                    (4) The bond between the juvenile and the parent.

                    (5) The quality of the relationship between the juvenile and
                    the proposed adoptive parent, guardian, custodian, or other
                    permanent placement.

                    (6) Any relevant consideration.

       N.C.G.S. § 7B-1110(a). The trial court shall then make written findings of fact as to

       those criteria which are relevant to its determination. In re Z.A.M., 374 N.C. at 99.

       We review a trial court’s assessment of a child’s best interests for abuse of discretion.

       See In re A.R.A., 373 N.C. at 199. “[A]buse of discretion results where the court’s

       ruling is manifestly unsupported by reason or is so arbitrary that it could not have

       been the result of a reasoned decision.” Id. (alteration in original) (quoting In re

       T.L.H., 368 N.C. at 107).

¶ 28         In making its best interests determination, the trial court must consider all of
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       the factors in N.C.G.S. § 7B-1110(a), even though it is not required to expressly make

       written findings as to each. See In re A.R.A., 373 N.C. at 199 (“It is clear that a district

       court must consider all of the factors in section 7B-1110(a). The statute does not,

       however, explicitly require written findings as to each factor.” (extraneity omitted)

       (quoting In re A.U.D., 373 N.C. at 10)).

¶ 29          At the conclusion of the termination of parental rights hearing on 4 February

       2020, the trial court acknowledged each of the six factors set forth in N.C.G.S. § 7B-

       1110(a) and reasoned that the matter would be resolved by its evaluation of the

       quality of the bond between the children and respondent-mother, and the quality of

       the bond between the children and the proposed adoptive parents. In its subsequent

       15 May 2020 order terminating respondent-mother’s parental rights, the trial court

       made findings of fact which addressed individually the six factors enumerated in

       N.C.G.S. § 7B-1110(a)(1)–(6). Once again, respondent-mother fails to challenge the

       trial court’s findings of fact, which are therefore deemed to be supported by competent

       evidence and hence are binding on appeal. See In re J.S., 374 N.C. at 814.

¶ 30          While respondent-mother argues that the trial court disregarded the bond

       between herself and the children in favor of the bond between the children and their

       foster parents, “the bond between parent and child is just one of the factors to be

       considered under N.C.G.S. § 7B-1110(a), and the trial court is permitted to give

       greater weight to other factors.” In re Z.L.W., 372 N.C. 432, 437 (2019); see also In re
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       A.J.T., 374 N.C. 504, 512 (2020) (upholding a trial court’s decision to terminate the

       respondent-parent’s parental rights to a child despite the trial court’s finding that the

       child “is very bonded” with respondent-mother when “[i]t [wa]s clear . . . [the trial

       court] considered several factors in making the best interests determination”).

¶ 31         Here, in accordance with its requirement to consider the bond between the

       children and respondent-mother as a relevant factor in the determination of the

       juveniles’ best interests regarding the issue of the termination of respondent-mother’s

       parental rights, the trial court found that “[b]oth children acknowledge and love their

       mother, but both children have stated that they feel safe and secure in their current

       placements.” The trial court also found that, despite the existence of a bond between

       respondent-mother and the children, “[respondent-]mother does not provide healthy

       parental boundaries” as evidenced by threats of physical violence which were made

       by respondent-mother during her visitation sessions with the juveniles. Contrary to

       respondent-mother’s contention that the trial court “completely disregarded” this

       factor which is contained in N.C.G.S. § 7B-1110(a)(4), it appears that the trial court

       weighed the evidence in the record which it considered to be relevant to the factor,

       recognized the bond between respondent-mother and the children through

       referencing the bond in its findings of fact, and ultimately assigned greater weight to

       other factors identified in N.C.G.S. § 7B-1110(a) in concluding that the termination

       of respondent-mother’s parental rights would serve the best interests of the children.
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       This evaluation of the factors which are listed in N.C.G.S. § 7B-1110(a) has been

       recognized by this Court to properly be within the purview of the trial court. See In

       re Z.L.W., 372 N.C. at 437; In re A.J.T., 374 N.C. at 512.

¶ 32         Notably, the trial court addressed N.C.G.S. § 7B-1110(a)(1)–(2) by recognizing

       the age of each child and finding that there was “a high likelihood that both children

       w[ould] be adopted” because Adam and Efia were placed with a caregiver who

       “intend[ed] to adopt as soon as possible.” In conformance with N.C.G.S. § 7B-

       1110(a)(3), the trial court found that “[t]erminating the rights of [respondent-]mother

       w[ould] help accomplish the primary plan of adoption for these children and help

       achieve permanence . . . following years of uncertainty and instability.” As to the

       quality of the relationship between the children and their proposed adoptive parents

       which is the factor embodied in N.C.G.S. § 7B-1110(a)(5), the trial court found that

       “[Efia] ha[d] developed a strong bond with her [caregiver] and the other children in

       the home and [wa]s considered a part of the family.” Adam was also seen as thriving

       in his placement, and despite being placed in separate homes, the children were able

       to spend significant time together due to the efforts of their respective families. As to

       other relevant considerations, the trial court found, in accordance with N.C.G.S. § 7B-

       1110(a)(6), that between October 2019 and the termination of parental rights hearing

       on 9 January and 4 February 2020, respondent-mother missed several visits with the

       children without explanation. Within its fact-finding responsibility, the trial court
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       determined that despite respondent-mother’s testimony that she would not use drugs

       or consume alcohol if the children were returned to her care, “her actions speak

       volumes louder than her words and the [trial court] finds that her pronouncements

       are not credible.” See In re D.L.W., 368 N.C. at 843 (“The trial judge had the

       responsibility to pass upon the credibility of the witnesses and the weight to be given

       their testimony and the reasonable inferences to be drawn therefrom.” (extraneity

       omitted) (quoting Knutton v. Cofield, 273 N.C. 355, 359 (1968))). Consequently, we

       are not inclined to view the trial court’s conclusion that the best interests of the

       juveniles were served by the termination of respondent-mother’s parental rights as

       an outcome which was arbitrary or manifestly unsupported by reason. See In re

       A.U.D., 373 N.C. at 6. In our analysis, the trial court appropriately exercised its

       discretion to weigh the statutory factors contained in N.C.G.S. § 7B-1110(a) in order

       to properly conclude that it was in the best interests of the children to terminate the

       parental rights of respondent-mother.

                                        V.    Conclusion

¶ 33         We are satisfied that the trial court’s determination that grounds existed to

       terminate the parental rights of respondent-mother under N.C.G.S. § 7B-1111(a)(2)

       was supported by clear, cogent, and convincing evidence. Further, we are convinced

       that the trial court’s conclusion that the termination of the parental rights of

       respondent-mother was in the best interests of the children was neither arbitrary nor
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manifestly unsupported by reason. Therefore, we affirm the trial court’s 15 May 2020

order terminating respondent-mother’s parental rights.

      AFFIRMED.
